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Attorneys for Plaintiff

                            UNITED STATES DISTRICT COURT
                                  DISTRICT OF UTAH

__________________________________________

CORPORATIONS FOR CHARACTER, L.C.          :
                                           :              MOTION TO CONSOLIDATE
                      Plaintiff,           :
                                           :
                                           :
       v.                                  :                No. 2:11-cv-0419-CW
                                           :
FEDERAL TRADE COMMISSION, a                :
Federal Administrative Agency,             :
                                           :
                      Defendant.           :
__________________________________________


                          PLAINTIFF’S MOTION TO CONSOLIDATE

       Pursuant to DUCivR 42-1 and this Court’s March 19, 2012 Order (DE 32), Plaintiff

Corporations for Character, L.C. respectfully requests consolidation of the case United States of

America v. Feature Films for Families, Inc., Corporations for Character, L.C., Family Films of

Utah, Inc., and Forrest Sandusky Baker, III, No. 2:12-cv-00811-TS, which was recently
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transferred to the District of Utah from the Northern District of Florida under 28 U.S.C. §

1404(a), with this matter. This Court’s March 19, 2012 Order states that in the event the Florida

action is transferred to Utah, “the court will consolidate the case with this action, as the lower-

numbered case, pursuant to DUCivR 42-1.” (DE 32.) That transfer has now occurred, and

Plaintiff respectfully requests consolidation.



Respectfully submitted,



Dated: August 27, 2012

                                                 By: ____/s/ Daniel Ferrel McInnis__________

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true copy of the foregoing has been furnished through the

Court’s CM/ECF system on this 27th day of August 2012 to counsel for all parties of record.




Dated: August 27, 2012                                           /s/
                                                          ______________________ ________________________________________________________________________________________________




                                                          Daniel Ferrel McInnis




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